

Matter of Schildt v Campanella (2025 NY Slip Op 02820)





Matter of Schildt v Campanella


2025 NY Slip Op 02820


Decided on May 7, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 7, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: BANNISTER, J.P., SMITH, DELCONTE, AND HANNAH, JJ.


480.1 CAE 25-00484

[*1]IN THE MATTER OF LESLIE SCHILDT, AS CANDIDATE FOR THE 12TH LEGISLATIVE DISTRICT OF MONROE COUNTY, PETITIONER-APPELLANT,
vDEBORAH CAMPANELLA, ERIN LOFTUS, MONROE COUNTY REPUBLICAN COMMITTEE, PATRICK REILLY, AS CHAIRMAN OF THE MONROE COUNTY REPUBLICAN COMMITTEE, WHEATLAND REPUBLICAN COMMITTEE, JAMES KIRCH, AS CHAIRMAN OF THE WHEATLAND REPUBLICAN COMMITTEE, RIGA REPUBLICAN COMMITTEE, CHRISTOPHER LOCKWOOD, AS CHAIRMAN OF THE RIGA REPUBLICAN COMMITTEE, HENRIETTA REPUBLICAN COMMITTEE, AND CHRISTOPHER CHAMBERLAIN, AS CHAIRMAN OF THE HENRIETTA REPUBLICAN COMMITTEE, RESPONDENTS-RESPONDENTS. (APPEAL NO. 1.) 






CERULLI MASSARE &amp; LEMBKE, ROCHESTER (MATTHEW R. LEMBKE OF COUNSEL), FOR PETITIONER-APPELLANT. 
REFERMAT &amp; DANIEL, PLLC, ROCHESTER (JOHN T. REFERMAT OF COUNSEL), FOR RESPONDENTS-RESPONDENTS MONROE COUNTY REPUBLICAN COMMITTEE, AND PATRICK REILLY, AS CHAIRMAN OF THE MONROE COUNTY REPUBLICAN COMMITTEE. 


	Appeal from an order and judgment (one paper) of the Supreme Court, Monroe County (Daniel J. Doyle, J.), entered March 10, 2025, in a proceeding pursuant to Election Law article 16. The order and judgment, inter alia, directed respondent Monroe County Republican Committee to conduct a new mini-convention. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in Matter of Schildt v Campanella ([appeal No. 2] — AD3d — [May 7, 2025] [4th Dept 2025]).
Entered: May 7, 2025
Ann Dillon Flynn
Clerk of the Court








